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             UNITED STATES COURT OF APPEALS
                  FOR THE THIRD CIRCUIT


CHESAPEAKE APPALACHIA,
L.L.C.,
                                          Case No. 14-4311
                       Appellant,

      v.
                                          On Appeal from U.S. District
RUSSELL E. BURKETT; GAYLE                 Court for the Middle District
BURKETT,                                  of Pennsylvania (Mannion, J.)
                                          Civil Action No. 3:13-cv-3073
                       Appellees.



                      JOINT STATUS REPORT

     Pursuant to the Court’s January 12, 2015 Order and the Court’s

September 18, 2020 Order, Appellant Chesapeake Appalachia, L.L.C.

(“Chesapeake”) and Appellees Russell E. Burkett and Gayle Burkett (the

“Burketts”) jointly submit this report addressing the status of the

pending District Court proceedings in Demchak Partners Limited

Partnership v. Chesapeake Appalachia, L.L.C., No. 3:13-cv-02289-MEM

(M.D. Pa.) (“Demchak”).

     On December 20, 2017, the Demchak court held a status conference.

On February 2, 2018, the Demchak court postponed further in-person

status conferences pending the ongoing settlement discussions. On July

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24, 2020, Chesapeake submitted a notice of pendency of bankruptcy to

this Court (ECF No. 122). On February 9, 2021, Chesapeake emerged

from bankruptcy. On March 3, 2021, the parties reached the settlement

agreement filed with this Court at ECF No. 133-2. The bankruptcy court

preliminarily approved the settlement agreement on April 7, 2021.

Order, In re Chesapeake Energy Corp., No. 20-33233 (Bankr. S.D. Tex.

Apr. 7, 2021), ECF No. 3415; Order, In re Chesapeake Energy Corp., No.

20-33233 (Bankr. S.D. Tex. Apr. 7, 2021), ECF No. 3416. Certain lessors

(the “Pennsylvania Proof of Claim Lessors”) appealed the preliminary

approval order. Notices of Filing of an Appeal, In re Chesapeake Energy

Corp., No. 20-33233 (Bankr. S.D. Tex. Apr. 13, 2021), ECF Nos. 3480 &

3481. Chief Judge Rosenthal of the U.S. District Court for the Southern

District of Texas dismissed the appeal on June 3. Mem. & Op., In re

Chesapeake Energy Corp., No. 4:21-cv-01215 (S.D. Tex. June 3, 2021),

ECF No. 37. The Pennsylvania Proof of Claim Lessors filed an appeal of

Chief Judge Rosenthal’s decision with the Fifth Circuit Court of Appeals.

Notice of Appeal, RDNJ Trowbridge v. Chesapeake Energy Corp., No. 21-

20323 (5th Cir. June 21, 2021), ECF No. 00515908374. Chief Judge

Rosenthal presided over the final fairness hearing on July 27, 2021, and


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granted final settlement approval on August 23, 2021. The Pennsylvania

Proof of Claim Lessors filed an appeal of the final approval decision on

August 25, 2021. See Pa. Proof of Claim Lessors v. Chesapeake Energy

Corp., No. 21-20456 (5th Cir.), consolidated with RDNJ Trowbridge v.

Chesapeake Energy Corp., No. 21-20323 (5th Cir.). Briefing in the appeal

is complete and oral argument occurred on August 30, 2022.




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Dated: September 7, 2022             Respectfully submitted,

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     CERTIFICATE OF PERFORMANCE OF VIRUS CHECK

     I hereby certify that on September 7, 2022, I caused a virus check

to be performed on the electronically filed copy of this motion using the

following virus software: Microsoft Forefront Endpoint Protection,

version 4.3.220.0. No virus was detected.



                                       /s/ Daniel T. Donovan
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                                       Counsel for Appellant
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                       CERTIFICATE OF SERVICE

      I hereby certify that on September 7, 2022, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties who

have appeared in this action via the Court’s electronic filing system.

Parties may access this filing through the Court’s system.



                                        /s/ Daniel T. Donovan
                                        Daniel T. Donovan

                                        Counsel for Appellant
